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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                            Crim. Action No. 21CR40(TNM)

DAVID LEE JUDD,

                    Defendant.



     DAVID JUDD’S REPLY TO THE GOVERNMENT’S RESPONSE TO HIS
                     MOTION TO SEVER COUNTS

       The government has elected to charge well over 700 individuals who attended

the events at the Capitol on January 6. Some of those defendants are charged in

conspiracies. Most of the defendants are not. And among the January 6 cases, mass-

defendant trials like the one proposed for David Judd are the exception. As the trials

that have already occurred in this courthouse demonstrate, single defendant trials of

persons who participated in the same day’s activities are the norm. Pursuant to Rules

8(b) and 14 of the Federal Rules of Criminal Procedure, and Mr. Judd’s constitutional

rights to due process and a fair trial, Mr. Judd’s trial too should be un-joined and

separate from other January 6 defendants.

       As the government repeatedly invokes in its discovery disclosure updates to

the Court, this prosecution is unprecedented. Perhaps as a result, the government

stretches and takes unprecedented actions—some of which fly in the face of bedrock

constitutional principles. That has happened here where the government has

clumped together a group of men for trial simply because they were in one another’s


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proximity on January 6 and because the government assumes that these men shared

the same objective, that is, to disrupt the electoral count. But when it is working, our

legal system does not countenance mass trials.

      David Judd is scheduled for a joint trial with defendants Cappuccio, Quaglin,

Sills, and Klein to begin on October 3, 2022. See ECF 277, Government’s Opposition

to Joinder and Severance Motion [hereinafter “ECF 277, Gov’t Opp.”]. As to each of

these men, Mr. Judd had nothing to do with them before the afternoon of January 6

and nothing to do with them since. Nor did he have anything unique or specific to do

with them on the afternoon of January 6. Hence, in its response to Mr. Judd’s Motion

to Sever, the government cannot, and does not, cite to a single case that supports

joinder of Mr. Judd to these other, randomly selected defendants. The government’s

argument that a group trial of Mr. Judd and these defendants will promote judicial

efficiency is unavailing. Finally, even if joining Mr. Judd to the trial of these others

would create some efficiencies for the government’s presentation of its evidence and

the testimony of its police officers, Mr. Judd’s right to a fair trial outweighs the

government’s purported interest in judicial economy.

      The government improperly joined Mr. Judd’s case with those of other

defendants. This Court should order that his case is no longer joined to them. In the

alternative, this Court should sever Mr. Judd’s trial from that of the other

defendants. The government proposes a political spectacle designed to advantage the

government’s prosecution efforts with disregard for his constitutional rights to a trial.




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Mr. Judd, however, is entitled to his own trial that both is, and appears to be, fair

and in accord with due process.

   1. Mr. Judd is misjoined with defendants Cappuccio, Quaglin, Sills, and
      Klein.

      A. The Indictment and pretrial information provided by the government
         demonstrate that Mr. Judd is improperly misjoined with defendants
         Cappuccio, Quaglin, Sills, and Klein.

      Mr. Judd and the government each recognize that in this Circuit joinder “is

determined as a legal matter by evaluating only the indictment [and] any other

pretrial evidence offered by the Government.” Compare ECF 206, Judd Joinder and

Severance Motion [hereinafter “ECF 206, Judd Motion”] at 7 with ECF 277, Gov’t

Opp. at 5. In addition to describing the indictment, ECF 277, Gov’t Op. at 2-3, the

government takes great pains to set out in detail what it thinks that additional

pretrial evidence includes. Id. at 7-10. Missing from the government’s recitation and

analysis is the awareness that any fair reading of its six pages of single-spaced factual

representations rejects the joinder of Mr. Judd to the four other defendants.

      Let’s start with the indictment. Mr. Judd is charged in Counts 16, 22, 33, 34,

35, 38, 46, 52, and 53. Mr. Judd is the only defendant as to his charges concerning a

dangerous weapon – assault on a police officer using a dangerous weapon in Count

22, disorderly conduct with a dangerous weapon in Count 38, and engaging in

physical violence with a dangerous weapon in Count 46. Mr. Judd is also charged

with aiding and abetting Mr. Stevens, who is not joined, in Counts 16 and 33. The

only charges that Mr. Judd faces that any of the joined defendants also face are the

January-6 ubiquitous charges of obstruction and civil disorder in Counts 34 and 35

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and the ubiquitous misdemeanor charges in Counts 52 and 53. Looked at from

another direction, Mr. Judd is not charged in the majority of the 22 charges that are

scheduled to be presented to a jury in his current joint trial with defendants

Cappuccino, Quaglin, Sills, and Klein. And while the government contends, “Notably,

Mr. Judd is charged with aiding and abetting in counts 16, 33, and 34” to support its

joinder argument, id. at 6 n.2, the government’s flawed logic can be understood when

one realizes that the four joined defendants are not included in Counts 16 and 33,

and that Count 34 is the ubiquitous obstruction charge that traverses January 6

defendants across hundreds of cases in the courthouse.

         The overlap of charges between Mr. Judd and his joined co-defendants is,

therefore, minimal and non-specific – the generalized obstruction and civil disorder

charges that literally many dozens to hundreds of other defendants equally face and

hundreds more of un-charged persons are subject to face when arrested in the future.

See ECF 277, Gov’t Opp. at 6 (identifying “many dozens of others” in the Lower West

Terrace tunnel). Thus, the indictment refutes that Mr. Judd “participated in the same

act or transaction, or in the same series of acts of transactions constituting an offense

or offenses.” Fed. R. Crim. P. 8(b); United States v. Perry, 731 F.2d 985, 991 (D.C. Cir.

1984).

         The government also provides “the trial evidence” that it anticipates it will

prove. ECF 277 Govt’ Opp. at 6. Mr. Judd and the Court benefit from this recitation,

because it highlights the paucity of any objective connection between the extent of

evidence that relates to the joined co-defendants (and not Mr. Judd) and evidence



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concerning what Mr. Judd accused. Whereas at the time of his motion, Mr. Judd had

a vague sense from pre-trial of the government’s representations that purportedly

supported the government’s joinder action, the government’s representations in his

Opposition lay bare the lack of a “logical relationship,” Perry, 731 F.2d at 990,

between Mr. Judd and defendants Cappuccino, Quaglin, Sills, and Klein.

      The government sets out 25 bullet-point, single-space paragraphs of

anticipated trial evidence. Within, Mr. Judd is mentioned only 7 times. The

government’s first 12 paragraphs concern the approximate time period between 12:50

and 2:43 p.m. Defendants Quaglin, Sills, and Klein are alleged to be “in the front row

of rioters who were facing off with police on the West Plaza of the Capitol Building.”

ECF 277, Gov’t Opp. at 7. Not Mr. Judd; he is allegedly somewhere else in the crowd,

first seen at the inaugural stage going toward the Capitol Building at 2:43 p.m. Id. at

8. What is the government’s evidence as to what happened prior?

      •   Between 12:55 and 1:10, Defendant “Quaglin and other rioters repeatedly

          assaulted the initial officers,” id. at 7, “rip[ped] away fences and protective

          equipment the officers were using,” id.

      •   Between 2:25 and 2:35, Defendants “Sills, Quaglin, [] and Klein took

          leading roles in pushing back the police,” id. “For instance, [] Sills and

          others pushed through the line of police officers on the West Plaza. Then,

          after the line had completely broken, [Sills] repeatedly threw items at the

          officers as they retreated up on the inaugural stage,” id. “Klein pushed

          against an officer who tried to move him away from the same defensive



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          line,” id. “Quaglin lunged at an officer on the same police line who was

          trying to protect a fallen colleague…. Quaglin grabbed several police

          shields,” id. Around 3:06 p.m., “Quaglin sprayed a chemical irritant in the

          face of Officer O.F.,” id. at 9.

      •   At 2:40, “Sills ripped away a police baton from Officer C.W. [] and used the

          baton to strike at officers, including Officer C.W. and Officer V.B.,” id. at 8.

          Between 2:58 and 3:00, “Sills continued to use the stolen baton to strike at

          officers, including Officer C.W.,” id.

      •   “Klein entered the tunnel at 2:43 and beckoned other rioters to join him,”

          id. Between 3:00 and 3:01, “Klein used a stolen riot shield as a wedge.,” id.

      •   From 3:07 to 3:14, “Quaglin, Cappuccio, and Klein continued to battle the

          police . . . and assisting in the group effort to heave against the police line,”

          id. at 9.

      •   At 3:00, “Cappuccio violently yanked a gas mask off the face of Officer D.H.,

          stole his baton, and then used the baton as a weapon to beat Officer D.H.,”

          id. As this occurred, “Quaglin used a stolen shield to push against the

          officers standing directly next to Officer D.H. while he was pinned,” id. at

          10, with Klein assisting Quaglin, id. Cappuccio and Klein continued to

          assault the police from 3:13 to 3:19, at which time, the police pushed them

          out,” id.

      As for Mr. Judd, he is alleged to be in the vast overall crowd, id. at 7, 8, and

eventually after the unrelated actions of others, in the tunnel at 2:56, id. at 8. Mr.



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Judd is alleged to be with a group (including Defendant Klein) that pushed toward

the officers at that time. He was outside the tunnel at 3:01, “speaking to Klein,” id.

At 3:06, Mr. Judd and particular persons who are not any of the four joined

defendants are alleged to have passed stolen shields, id. at 9. “Judd then threw a lit

firecracker at the line of officers [and] then retreated from the tunnel,” id. For the

next hour, “Judd stayed by the entrance of the tunnel until 4:15, re-entering the

tunnel (without any of the four joined defendants) at 4:20,” id. at 10.

          While the allegations about Mr. Judd may not paint him in the most admirable

light, they also make clear that his actions were materially separate and apart from

the other defendants in his trial group – not “participation in a common scheme or

plan spanning both "transactions and the other four joined defendants.” 731 F.2d at

991. Mr. Judd did not “participate[] in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or offenses.” Fed. R. Crim. P.

8(b). Others were committing acts and alleged offenses around and at the same time,

but similar occurrences at similar time and place do not make a common plan or a

series.

          This absence of a logical nexus between Mr. Judd’s acts and the four joined

defendants’ individual acts is unsurprising. They did not know one another prior to

January 6. They did not travel to the Capitol together. They are not associated with

the same group or organization. They are not alleged to have conspired together.

Consequently, Mr. Judd’s alleged firecracker assault is distinct from the alleged

assaults of the co-defendants.



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      The government asserts without support either in the indictment or its 25

factual allegations that each of the joined defendants was “motivated by the same

goal: to disrupt the Congressional certification of the 2020 Presidential Electoral

College vote, based on their beliefs that the 2020 Presidential Election had been

stolen.” ECF 277, Gov’t Opp. at 4. The government believes and asserts the same

about the 700+ defendants throughout the January 6 cases. But assertions are not

evidence; they are at most assumptions. The government asserts wrongly. Mr. Judd

was not motivated to disrupt the certification, and his motivations were different

than those of the four joined defendants. That he and the four joined defendants were

in the same proximity when they acted apart from Mr. Judd is insufficient to establish

that he participated in the same series of acts or transactions constituting the

offenses with the joined defendants. 1

      B. The continued joinder of Mr. Judd’s of trial with those of defendants
         Cappuccio, Quaglin, Sills, and Klein would be a legal error.

      It is telling that the government cannot point to a single case in which a court

authorized grouping of defendants in the manner that has been done here as to Mr.

Judd with the other four defendants. Instead, the government seeks to erase all the

classic examples of when joinder is proper, distinguish in footnotes those cases that



1 As if it mitigates the misjoinder of Mr. Judd and the four joined defendants, the
government observes that the nine defendants in the indictment have been grouped
in two separate groups for trial. ECF 277, Gov’t Opp. at 4. But that the nine
defendants could be separated into two trial groups based solely on attorney
schedules—and nothing to do with the facts of each case— underscores that their
joinder is meritless. Likewise, that one attorney is permitted to represent two
defendants named in the same indictment also suggests misjoinder.


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discourage joinder of Mr. Judd to the four other defendants, and then cites a case so

remarkably different than the facts here that the government misapprehends that

the case actually supports Mr. Judd’s joinder motion. 2

      First, anyone who has handled any federal criminal cases knows that the

classic cases in which joinder is sought, and regularly denied, are conspiracy cases,

racketeering cases, and cases where the defendant engaged in one or more acts to

support the conspiracy or racketeering enterprise. Such cases are the textbook

examples as to when joinder is upheld. Mr. Judd’s factual circumstances are the

antipodal meridian of those cases, the conspiracy-case decisions shed little light on

the issue before this Court.

      Consequently, the government’s heavy reliance upon, and repeated citations

to conspiracy cases to support the joinder of Mr. Judd’s case to the four defendants

are inapposite. See, e.g., United States v. Mason, 951 F.3d 567, 575 (D.C. Cir. 2020)

(“The indictment’s allegation that [the defendants] conspired to distribute drugs

made joinder of their trials proper”: ‘“The mere allegation of a conspiracy

presumptively satisfies Rule 8(b), since the allegation implies that the defendants

named have engaged in the same series of acts or transactions constituting an




2 Cases that the government cites to give reasons in favor of joint trial are cases in
which the D.C. Circuit determined that joint trial of offenses was in error. See United
States v. Brown, 16 F.3d 423, 428 (D.C. Cir. 1994) (offenses “do not belong to ‘the same
act or transaction or in the same series of acts or transactions” although defendant’s
trial counsel waived the claim by failing to cite Rule 8(b) to the district court); United
States v. Nicely, 922 F.2d 850, 851 (D.C. Cir. 1991) (“we hold that the conspiracies
charged in the indictment were misjoined and caused prejudice to the defendants”),
cited in ECF 277, Gov’t Opp. at 5.
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offense.’” (quotation omitted)); United States v. Bostick, 791 F.3d 127, 145 (D.C. Cir.

2015) (Kavanaugh, J.) (“D.C. offenses were committed in furtherance of the charged

drug conspiracy or were predicate acts committed in furtherance of the charged RICO

conspiracy, or both”); United States v. (George) Wilson, 605 F.3d 985, 997 (D.C. Cir.

2009) (per curiam) (conspiracy and RICO conspiracy case); United States v. Carson,

455 F.3d 336, 373 (D.C. 2005) (per curiam) (“all of these counts were overt acts in

furtherance of the narcotics conspiracy and predicate acts in furtherance of the RICO

conspiracy”); United States v. Gbemisola, 225 F.3d 753, 760 (D.C. Cir. 2000) (“if a

conspiracy count makes initial joinder of defendants permissible, the mid-trial

dismissal of that count does not render joinder improper under Rule 8(b)”); United

States v. Spriggs, 102 F.3d 1245, 1255 (D.C. 1996) (per curiam) (“all of the defendants

participated in a single conspiracy … joinder of the defendants was proper”),

amended, 102 F.3d 1245 (D.C. 1997); United States v. (Lance) Wilson, 26 F.3d 142,

153-54 (D.C. 1994) (defendants were indicted and unindicted co-conspirators in same

conspiracies); United States v. Delpit, 94 F.3d 1134, 1142-43 (8th Cir. 1996)

(interconnected drug conspiracies and evidence sole defendant not alleged part of

conspiracy was hired as contract killer to advance the conspiracy); United States v.

Eiland, 406 F. Supp.2d 46, 50 (D.D.C. 2005) (“While each defendants’ alleged role in

the overall scheme may vary, all counts relate either directly or indirectly to the

underlying conspiracy.”); United States v. Gray, 173 F. Supp.2d 1 (D.D.C. 2001)

(joinder motions denied where defendants participated in RICO conspiracy and

related charges); United States v. Hubbard, 474 F. Supp. 64, 87 (D.D.C. 1979) (joinder



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proper of overlapping and interlocking charges related to one conspiracy to collect

data and the other conspiracy to cover-up unlawful data collection); United States v.

Moore, 216 F. Supp.3d 566, 584 (E.D. Pa. 2016) (“The presence of a conspiracy count

linking the two bank robberies made the initial joinder of the offenses appropriate.”),

cited in ECF 277, Gov’t Opp. at 5, 6, 10, 16, 18. 3

      Second, the government struggles unconvincingly in seeking to distinguish

Kotteakos v. United States, 328 U.S. 750, 773 (1946), United States v. Jackson, 562

F.2d 789 (D.C. Cir. 1979), and United States v. Whitehead, 539 F.2d 1023 (4th Cir.

1976), cited in Jackson, 562 F.2d at 796. See CEF 277, Gov’t Opp. at 12-13, 12 n.6, 13

n.7, 20 n.10. While the government wishes that Kotteakos “has no application here,”

observing that the decision arises from a conspiracy case and contending it is limited

to a sufficiency-of-the-evidence analysis, id. at 13 n.7, in Kotteakos, the Supreme

Court held that each defendant has “the right not to be tried en masse for the

conglomeration of distinct and separate offenses committed by others.” 328 U.S. at

775. Nor did the fact that it was a conspiracy case drive the Court’s decision: “We



3 The two cases that the government cites for its argument “[t]hat the Defendants are
not charged with conspiracy, [ECF 206, Judd Mot.] at 1 . . . is of no moment,” ECF
277, Gov’t Opp. at 6, do not help the government. Gbemisola, the D.C. Circuit case
cited by the government, was a conspiracy case and “the government ‘presented
evidence that [defendants’] offenses arose out of their participation in the same drug
distribution scheme.’” 225 F.3d at 760 (quotation omitted). In the other citation,
another federal circuit court upheld the joinder of “two conspiracies that shared a
common plan or scheme and a substantial overlap of facts or participants.” United
States v. Rittweger, 524 F.3d 171, 174 (2d Cir. 2007) (Sotomayor, J.). In doing so, the
Second Circuit noted the unique factual nature of its analysis, id. at 178, and
admonished: “Rule 8(b) does not provide the government with limitless discretion to
join defendants and does not absolve the government from an independent obligation
to consider the unfairness that may result from joinder,” id. at 180.
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have not rested our decision particularly on the fact that the offense charged, and

those proved, were conspiracies.” Id. at 776. Kotteakos announces a clarion warning

– especially apt in non-conspiracy cases:

      Criminal they may be, but it is not the criminality of mass conspiracy.
      They do not invite mass trial by their conduct. Nor does our system
      tolerate it. That way lies the drift toward totalitarian institutions. True,
      this may be inconvenient for the prosecution. But our Government is not
      one of mere convenience or efficiency. It too has a stake, with every
      citizen, in his being afforded our historic individual protections,
      including those surrounding criminal trials. About them we dare not
      become careless or complacent when that fashion has become rampant
      over the earth.

Id. at 773. As to this limitation and warning to avoid the drift toward totalitarian

regimes, the government’s Opposition is tellingly and ominously silent.

      The government acknowledges, as it must, that in Jackson, the D.C. Circuit

held that spatial and temporal proximity were not enough to authorize joinder. ECF

277, Gov’t Opp. at 12 n.6. Where “the fundamental question remains: Are crimes

committed by the same persons around the same place and around the same time

automatically sufficiently ‘connected together’ to be joined” as different parts of “the

same series of acts or transactions” under Rule 8(b), the D.C. Circuit answered, “No”

absent a logical link between the different offenses. 562 F.2d at 796-797. Because the

government’s hypothetical about “two men separately entering the same bank at the

same time both intending to rob it and then carrying off the robberies

simultaneously,” ECF 277, Gov’t Opp. at 13, is not Mr. Judd’s case, see supra, Part

I.A., it is a false analogy. And the court’s proscription in Whitehead meets Mr. Judd’s

facts. Just because there may have been “a common denominator” between Mr. Judd



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and one or more of the four joined defendants, the government has not established

that he participated in the same act or same series of acts as did they. They were

independent actors, at most contemporaneously present in similar, parallel acts, not

“related events or things, one following the other.” “Series,” CAMBRIDGE DICTIONARY,

available at SERIES | meaning in the Cambridge English Dictionary, last accessed

May 5, 2022.

      Finally, the government bizarrely relies on United States v. Slatten in support

of its argument that the defendants are properly joined. 865 F.3d 767 (D.C. Cir, 2017)

(per curiam). In doing so, the government fails to acknowledge that in Slatten, the

issue of severance, not joinder, was before the Court, and that the D.C. Circuit held

that the district court abused its discretion in failing to sever Slatten from his co-

defendant where his co-defendant. Slatten, 865 F.3d at 811.

      Setting aside that the contrary holding of the case, the government’s reliance

on Slatten is misplaced for other reasons. In Slatten, the “defendants were members

of Blackwater’s Raven 23 team.” Slatten, 865 F.3d at 777 (emphasis added). The

defendants “convoy[ed] together” to a car bombing in Baghdad. Id. (emphasis added).

They stopped together at a city square. Id. Together, the convoy members engaged in

heavy gunfire and multiple grenade attack at a particular vehicle, destroying the car

and killing its passengers. Id. at 778. The defendants all left together in the same

convoy in which they arrived. Id.

      Eight of the defendants were charged and tried in this Court. The Slatten

defendants, unlike Mr. Judd and the four joined defendants, were part of the same



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team and convoy that traveled to the scene of together, worked in concert together as

a trained military unit, and left together. While not charged with conspiracy as it

relates to pre-planning the unauthorized attack, the defendants worked as a cohesive

unit “with a mutual intent to commit a crime [who] ha[d] joined others in

participating in the same act or transaction constituting a crime or crimes.” Id. at

788.

       In contrast, Mr. Judd and the four joined defendants did not travel together to

the Capitol together, they were not taking direction from one another, and while they

were in the same proximity (along with hundreds of other rally-goers), they did not

engage in the same series of acts. Unlike the defendants in Slatten, who acted in

concert to shoot their victims, Mr. Judd and his co-defendants are alleged to have

committed distinct, separate, and different acts. Indeed, the government’s recitation

of the defendants’ alleged acts supports that the alleged offenses are distinct. See

supra, Part I.A. These distinct acts are not comparable to the shooting at issue in

Slatten, whose only fair reading is that pre-planned concerted acts of a cohesive group

exemplify when joinder is appropriate. On the other hand, if the evidence is just that

“the crimes occurred at about the same time and about the same place,” joinder is

reversible error. Jackson, 562 F.2d at 790-97.

   C. A joint trial with the four other joined defendants will not create substantial
      efficiencies but, instead, will result in an unfair trial for Mr. Judd.

       To be sure, joint trials can have certain efficiencies. It certainly is easier for

the government to present evidence one time as opposed to multiple times. Yet the




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consideration of efficiencies occurs long before potential jurors are summonsed. They

first start with the government’s charging decision.

      The government elected to charge over 700 individuals who, for the most part,

came to the Capitol to exercise their free speech. To date, the government has not

offered alternative ways of disposing of cases, such as deferred prosecution

agreements, which were, for example, widely offered to defendants charged with

offenses arising out of the riots at the federal courthouse in Portland. 4 The

government seeks jail time for misdemeanor pleas and requires guidelines ranges of

lengthy prison sentences as part of any pleas in felony cases. First offenders are given

plea offers where the defendants know that they face prison time. Plea offers that

disincentive pre-trial settlement of cases are inefficient. In short, bringing 700 plus

U.S. citizens to trial on charges ranging from trespass to assault on a police officer

without meaningful pretrial resolution a priori creates inefficiencies.

      The U.S. criminal legal system is supposed to prioritize fairness over rank

efficiency. China, Russia, Cuba, Venezuela, and other foreign regimes have efficient

legal systems. Persons with political viewpoints against the political leadership’s

grain or rallygoers who speak and act in defiance of those governments are dealt with

efficiently. In this country, all – regardless of their political views –are to be given

equal justice under the law. And, if pretrial settlement offers are unreasonable, then

we will have definitionally-inefficient American jury trials, with prosecutors seeking



4 See ECF 138, Mr. Judd’s Motion to Compel Discovery on Claim of Selective
Prosecution, and ECF No. 138-1, Appendix to Mr. Judd’s Motion to Compel (chart
compiling cases).
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convictions, defense lawyers upholding due process and the rule of law, and Article

III judges presiding to ensure and protect that our courts function as beacons of

justice.

       The government argues that it will have to repeat the introduction of some

evidence if the trials are severed. The government argues, for example, that with

respect to the issues as to whether the defendants intended to disrupt the electoral

count and whether the defendants knowingly entered a restricted area for purposes

of 18 U.S.C. §§ 1512 and 1752, respectively, the government “will present a host of

witnesses who would have to testify repeatedly in the event of severed trials.” ECF

277, Gov’t Opp. at 19. That evidence is necessarily going to be repeated verbatim in

any number of January 6 trials. By the government’s logic, hundreds of defendants

charged with violations of §§ 1512 and 1752 should be forced to stand to trial together

to streamline that evidence. Of course, the Court would not countenance such a

spectacle.

       Likewise, the Court should not countenance a group trial including Mr. Judd

simply because the government has charged him with similar or the same offenses as

the other four defendants. The government has already advised the defense that it

intends to present substantially similar evidence in Mr. Judd’s trial as previously

presented in January 6 jury trials in this District. Such evidence, the government

admits, “will consume a substantial portion of the trial.” ECF 277, Gov’t Opp. at 18.

The amount of evidence that the government presents that is non-specific to Mr. Judd

is a tactical decision by the government. The government complains that it “will



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present a host of witnesses who would have to testify repeatedly in the event of

severed trials.” Id. at 19. That is correct, and it is consistent with our legal system.

      Left unsaid by the government is that its witnesses are not secret cooperating

witnesses whose safety may be jeopardized by testimony, civilian witnesses pulled

away from their jobs or child care, or foreign nationals whose travel and attendance

militate against multiple appearances. Cf., Slatten, 865 F.3d at 788 (“concerns for

efficiency are especially compelling here because many of the witnesses reside in Iraq.

Multiple trails would mean arranging multiple international trips for the witnesses,

which would likely be both difficult to schedule and costly.”). The government’s

witnesses are primarily law enforcement and other government individuals, who

work and reside in the local area and whose jobs regularly include and/or require

testimony.

      The government’s decision to take up large amounts of court time with

presentation of evidence that may not be disputed at all but that may advance

political points for the government is not reason to disregard the lack of a basis of

joinder of Mr. Judd’s trial with the four other defendants. Similar, any red herrings

that the government says it wants to avoid repeating in multiple trials, see id., are

irrelevant in the trial of Mr. Judd’s case (or the trial of other defendants) if those

issues are not litigated to the degree that trial evidence is necessary. “Efficient”

prosecutors seek stipulations and agree to stipulations proposed by defense counsel

– not the regurgitation case-after-case of gratuitous testimony and other evidence.

See, e.g., Old Chief v. United States, 519 U.S. 172, 186 (1997).



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      Moreover, the government minimizes the inefficiencies of trying Mr. Judd’s

case together with others who committed different actions at different times. See ECF

277, Gov’t Opp. at 17 (“most, if not all, of the government’s evidence” will be mutually

admissible in the trials of Mr. Judd and each of the four joined defendants). This

simply is inaccurate. Much evidence will not be admissible. And almost inevitably,

one can forecast objections, in limine motions, bench conferences, the need for

curative instructions, and incipient motions for mistrial and to sever.

      Put aside the objections that the lawyers for co-defendants will have as to

evidence related to Mr. Judd, which there undoubtedly will be. Mr. Judd will focus

here simply on his own objections as to evidence related to his co-defendants that are

inadmissible as to him – including photographs, videos, police officer testimony, and

other witness testimony, whether F.R.E. 401, 403, hearsay, or other grounds. The

government seems to think that it can sweep in tranches of inadmissible evidence

under a “background evidence theory.” ECF 277, Gov’t Opp. at 16-17. But, at

minimum, all evidence must be relevant, F.R.E. 401. “Evidence is relevant if it has

any tendency to prove or disprove the existence of a consequential fact; “in complex

cases it is sometimes difficult to establish relevance prior to the introduction of all

evidence and without being able to analyze and explain its relevance in relation to

other evidence.” 2 WEINSTEIN’S FEDERAL EVIDENCE § 401.04(1). Good faith objections

will lead to numerous interruptions and side issues that could easily be avoided in

the appropriate separate trial of Mr. Judd. And a trial with multiple defendants, with

evidence that relates to one but not others and concomitant legal proceedings, extends



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the trial time, which expands the number of potential jurors who are excused for

cause based upon hardship and extends the time that particular citizens are removed

from their lives for jury service. The government estimates that the joint trial will

take 3-4 weeks, ECF 277, Gov’t Opp. at 22, a time estimate that should be extended

to account for defense objections and the defense cases. When trials do not

conglomerate defendants, the trials are shorter, more efficient for jurors, attorneys,

and judicial staff alike. See, e.g., Gray, 173 F. Supp.2d at 9-10 (addressing hardships

on jurors, trial judge, defendants (some of whom need to fund trial representation),

attorneys, and other court personnel); United States v. Gaston, 37 F.R.D. 476, 477

(D.D.C. 1965) (“It would be very unfair to require a defendant and his counsel to sit

and listen to testimony in regard to counts in which he may not be involved,” because

of inefficiencies of added cost and time). 5 Thus, while joinder may seem more efficient

at first blush, critical analysis of the improper joinder compels the opposite

conclusion.

    III. In the event, the Court fails to correct the government’s misjoinder
    of Mr. Judd’s case with that of the four joined defendants, the Court
    should exercise its discretion and sever his trial from theirs.

      Mr. Judd takes no position as to whether any other defendants should be tried

jointly. See ECF 277, Gov’t Opp. at 20. But his trial should be severed from the other




5 As a practical matter, the severance of a defendant’s case not only provides him a
fairer trial but it also can increase the possibility that the government will offer a
more reasonable plea offer to that defendant as opposed to expending resources on
the trial, resulting in efficient pretrial settlement and court proceedings.
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four defendants. The government’s opposition to Mr. Judd’s severance motion is brief,

see id. at 20-24; Mr. Judd will keep his reply similarly brief.

      The government’s recitation of relevant facts requires some correction. There

is no allegation that Mr. Judd “push[ed] aggressively against the police.” Id. at 21.

With regard to his four joined defendants, Mr. Judd stood, spoke, and beckoned. Id.

at 8-9. He did not help any of his four joined co-defendants “create a ‘shield wall,’” id.

at 21; see id. at 7-10. He did allegedly throw a firecracker. Id. at 9. No other defendant

is alleged to have knowledge or co-action of that act. And toward the end of afternoon,

Mr. Judd is alleged to have re-entered the tunnel to push against the police – but not

with any of his four joined co-defendants. Id. at 10. Finally, as already discussed, his

four joined defendants are alleged to have engaged in a host of direct, violent,

assaultive conduct that Mr. Judd had nothing to do with. See supra, Part I.A.

      Additionally, the government’s cases are worth a second look. In Manner, the

D.C. Circuit observed, “The few cases in which we have overturned a trial court's

denial of a motion to sever have involved clear disparities between the weight,

quantity, or type of the evidence against the movant and against the other

defendants.” United States v. Manner, 887 F.2d 317, 324 (D.C. Cir. 1989). Such is the

reported evidence here. Fast-forwarding 32 years, just last year, the D.C. Circuit

listed, as the government puts it, “salient factors that militate against severance,”

ECF 277, Gov’t Opp. at 21 (citing United States v. Tucker, 12 F.4th 804, 825 (D.C.

Cir. 2021) (per curiam)). None of those factors – presentation of the same evidence,

testimony by the same witnesses, and the same illegal conduct, id. – are present here.



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E.g., supra, Part I.A. The testimonial and other evidence as to the four joined

defendants is not testimony necessary in Mr. Judd’s trial, and his alleged criminal

acts were not conspiratorially, jointly, or otherwise the same as those committed by

the others. Severance can be warranted “when evidence that the jury should not

consider against a defendant and that would not be admissible if a defendant were

tried alone is admitted against a codefendant” in a joint trial. Zafiro v. United States,

506 U.S. 534, 539 (1993). See Carson, 455 F.3d at 374 (absence of mutual

admissibility supports severance); Perry, 731 F.2d at 992 (same); United States v.

Drew, 331 F.2d 85, 89-90 (D.C. Cir. 1980) (same regarding severance of counts for

defendant).

      Mr. Judd’s trial should be severed. See Gaston, 37 F.R.D. at 478 (judicial

member of committee that revised federal rules 8 and 14 granting severance into as

many as four separate trials for eight defendants “in such a way that no defendant

will be required to participate or be present at the trial of any count in which he is

not involved and in which he is not charged,” because “a mass trial is contrary to the

basic principles of our jurisprudence” that Rule 14 is designed to give district judges

authority to prevent).

                                  Conclusion

      Certain bedrock principles set the American legal system apart of from others.

Among them are that an individual criminal defendant is afforded individual

protections. David Judd is not charged with a mass conspiracy. Indeed, the

government could never even allege that he conspired with any of the other



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individuals in his indictment. Our justice system strives to be fair and just to each

individual charged with offenses against the government. To be sure, our criminal

legal system has faltered at times in the past. The country has experienced mass

political trials that have resulted in mass convictions of those hailed before the bar.

Federal trial examples that come to mind include the joint trial of slavery abolitionist

John Brown and his compatriots at Harper’s Ferry, West Virginia; the World War II-

era sedition trials of those on the left and on the right who disagreed with President

Roosevelt; and the joint trial in Oregon of Cliven Bundy and his followers who

protested federal land management control policies less than a decade ago. Federal

prosecutors can use the U.S. Code to prosecute those express unpopular voices and

do disagreeable actions. But when unchecked, such prosecutions inevitably deprive

the accused of treasured constitutional rights.

       The U.S. Supreme Court’s caution in Kotteakos applies with special force here:

“They do not invite mass trial by their conduct. Nor does our system tolerate it. That

way lies the drift towards totalitarian institutions. True, this may be inconvenient

for the prosecution. But our government is not one of mere efficiency. It too has a

stake, with every citizen, in his being afforded historic individual protections,

including those surrounding criminal trials.” 328 U.S. at 773. See Perry, 731 F.2d at

989 (“The purpose of [Rule 8(b)] is to put some reasonable limitation on the conduct

of mass trials.”).




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      For the foregoing reasons, those in Mr. Judd’s ECF 206, those he will present

at a hearing on his motion, Mr. Judd respectfully submits that this Court should sever

his trial from that of the four joined defendants.



                                               ______/s/____________________
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